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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                              BUTTE DIVISION


UNITED STATES OF AMERICA,                            CR 21–06–BU–DLC

               Plaintiff,

       vs.                                                  ORDER

KRYSTA DENISE VOORHIES,

               Defendant.


      Before the Court is the United States’ Motion for Final Order of Forfeiture.

(Doc. 49.) Having reviewed said motion, the Court finds:

      1.      The United States commenced this action pursuant to 18 U.S.C.

§ 924(d);

      2.      A Preliminary Order of Forfeiture was entered on July 14, 2021;

      3.      All known interested parties were provided an opportunity to respond

and that publication has been effected as required by 18 U.S.C. § 924(d) and 21

U.S.C. § 853(n)(1);

      4.      There appears there is cause to issue a forfeiture order under 18

U.S.C. § 924(d);

      Accordingly, IT IS ORDERED that:

      1.      The motion (Doc. 49) is GRANTED.

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         2.      Judgment of forfeiture of the following property shall enter in favor of

the United States pursuant to 18 U.S.C. § 924(d), free from the claims of any other

party:

         •     Glock, model 20, 10 mm pistol, SN: ZLW544; and

         •     7 rounds of ammunition.

         3.      The United States shall have full and legal title to the forfeited property

and may dispose of it in accordance with law.

         DATED this 27th day of September, 2021.




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